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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:17−cr−00220
                                                       Honorable Matthew F. Kennelly
Cameron Battiste, et al.
                                        Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 13, 2020:


        MINUTE entry before the Honorable Matthew F. Kennelly as to Cameron
Battiste: Defendant Cameron Battiste's motion for payment of expert in excess of CJA
maximum is granted [219]. Defense counsel is directed to submit the appropriate CJA
payment request and supporting documentation, including a copy of this order and a
memorandum justifying payment in excess of the statutory maximum. Mailed notice.
(mma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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